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                                                                                    Companies Controller          [logo]
               [logo]
                                         The Palestinian Authority
                                                                                           [logo]                 The
               The
                                                                                                                  Palestinian
               Palestinian              Ministry of National Economy                Ministry of National          Authority
               Authority
                                                                                    Economy
                                               Companies Controller

Private Joint-Stock Company Certificate, issued by the Companies Controller

              By virtue of the Companies Law No. 12 (1964) and its modifications,
I hereby declare that: Al-Sanabel for Trade and Investment Co., whose head office is located in Ramallah,

and whose details are listed below, was registered in the Private Joint-Stock Companies registry under No. 562482216

on 2/18/2009, with paid capital of USD 50,000,000.00

Shareholders                      Address Main Goals                                              Authorized Signatories
Mohammad Ibrahim Mohammad Shtayyeh Tal    Real estate activities, on                              Only the chairman of the
                                          a fee or contract basis.                                management board, or
                                                                                                  a person with written
                                                                                                  authorization from him.
Mo'in Ilyas Yusuf Khoury                      Jericho Real estate activities with
                                                      owned or rented properties.
Mostafa Fayez Mustafa Abu Al-Rub            Jericho Investment in securities (stocks
                                                      and bonds).
Mahmoud Rida Abbas Abbas                     Gaza     Non-specialized wholesaling of
                                                      various goods,
                                                      Or: Specialized wholesale has
                                                      not been mentioned previously.
                                                      Wholesale trade on a fee or
                                                      contract basis.
                                                                      Comments:


                                              [Illegible] on 2/22/2011 instead of the certificate
                                              that was issued on [illegible].                                 Nizam Ayub[cut off]
                                                                                  Companies Controller        Companies Controller
                                                                                         [logo]

                                                                                  Ministry of National
                                                                                  Economy
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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


MARK I. SOKOLOW, et al.,

                                Plaintiffs,
                                                      No. 04 Civ. 00397 (GBD) (RLE)
        vs.

THE PALESTINE LIBERATION
ORGANIZATION, et al.,

                                Defendants.



                             DECLARATION OF YANIV BERMAN

        Yaniv Berman hereby certifies, under penalty of perjury of the laws of the United States,

pursuant to 28 U.S.C. § 1746(1) as follows:

1.      The attached translation from Arabic to English is an accurate representation of the

        document received by my office, to the best of my knowledge and belief. The document

        is designated as “Sanabel’s updated registration certificate.”

2.      I am a professional translator with an M.A. degree in Middle Eastern Studies from the

        Hebrew University of Jerusalem (Israel). I am fluent in Arabic and English, and I am

        qualified to translate accurately from Arabic to English.

3.      To the best of my knowledge and belief, the accompanying text is a true, full and

        accurate translation of the Arabic-language document designated as “Sanabel’s updated

        registration certificate.”


Dated: July 7, 2015

                                                               ________________________
                                                               Yaniv Berman
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